                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



Joseph W. Chalifoux

    v.                                     Civil No. 14-cv-136-SM

Jennifer M. Chalifoux et al. 1



                       REPORT AND RECOMMENDATION

     Pro se plaintiff Joseph Chalifoux, proceeding in forma

pauperis, has filed a Third Amended Complaint (doc. no. 7)

(“Complaint”).   The Complaint is before the Court for

preliminary review, pursuant to 28 U.S.C. § 1915(e)(2) and LR

4.3(d)(2).


                      PRELIMINARY REVIEW STANDARD

     This Court reviews pleadings filed by plaintiffs proceeding

in forma pauperis, and may dismiss claims asserted therein if

they seek monetary relief against a defendant who is immune from

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      Defendants are plaintiff’s estranged wife, Jennifer M.
Chalifoux; her father, James R. Cieslik; the Town of
Tyngsborough, Massachusetts; Tyngsborough Police Department
(“TPD”) Officers Shawn Woods, Shaun Wagner, Mark Borque, and
Cynthia Shay; TPD Chief Richard Howe; plaintiff’s ex-wife
Charlene Shute; Middlesex County Family and Probate Court
Guardian Ad Litem Richard Wolman; Attorney Gail E. Bakis;
Attorneys John A. James, Jamie Mauritz-James, Nick Halks, and
Timothy Mauritz; Shawn Scott Mustapha; and some number of
unnamed individuals who posted allegedly defamatory remarks on
the website “Topix,” and other websites, whom plaintiff
identifies as “John and Jane Doe” or the “Does.”
such relief, are frivolous, or fail to state a claim upon which

relief may be granted.    28 U.S.C. § 1915(e)(2).   In determining

whether a pro se pleading states a claim, the Court construes

the pleading liberally.    See Erickson v. Pardus, 551 U.S. 89, 94

(2007).    Disregarding any legal conclusions, the Court considers

whether the factual content in the pleading and inferences

reasonably drawn therefrom, taken as true, state a plausible

claim to relief.   Hernandez-Cuevas v. Taylor, 723 F.3d 91, 102-

03 (1st Cir. 2013) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)).


                             BACKGROUND

     Plaintiff Joseph Chalifoux, a New Hampshire resident, and

his estranged second wife Jennifer Chalifoux, the mother of

their two children, have been involved in contentious divorce

and child custody proceedings for several years in Middlesex

County Family and Probate Court in Massachusetts (“Family

Court”).   On July 1, 2013, Ms. Chalifoux filed an ex parte

petition in the Lowell District Court seeking a temporary

domestic abuse prevention order against plaintiff, under Mass.

Gen. L. (“MGL”) ch. 209A.    Based on Ms. Chalifoux’s assertions

that her estranged husband had recently purchased a number of

weapons and was volatile, the Lowell District Court issued a



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temporary abuse prevention order (“209A Order”) and scheduled an

evidentiary hearing for July 15, 2013.   The temporary 209A

Order, which was subsequently extended for a year after the July

15 hearing, restricted plaintiff’s contacts with Ms. Chalifoux

and their children and required plaintiff to surrender his

weapons and firearms permit to the police.    Later on the day of

the temporary order’s issuance, officers from the Tyngsborough,

Massachusetts, Police Department (“TPD”) stopped plaintiff as he

arrived in Ms. Chalifoux’s driveway to pick up his children, and

told him to go with them in his own car to the Dracut Police

Department (“DPD”), where they served him with the 209A Order.

     En route to the DPD, plaintiff stopped his car in a

driveway, to ask the officers why he had to go to the DPD.

Plaintiff asserts that, in connection with that conversation,

the officers pat-frisked him and told him that they planned to

question him and search his residence in Tyngsborough.

Plaintiff denied residing in Tyngsborough, and maintained that

the officers needed his girlfriend Krystal Ayotte’s consent

before they searched her Tyngsborough home.   The officers

allowed plaintiff to call Ayotte on his cellphone to seek her

permission for the search.   The officers told Ayotte that they

expected to be able to get a warrant if she did not consent.




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Ayotte eventually agreed to the search on the condition that her

mother and plaintiff would be present and that her mother could

revoke consent at any time.    After the call with Ayotte ended,

the officers “ordered” plaintiff back into his car, and

continued their drive to the DPD.

     Upon their arrival at the DPD, three officers (a federal

agent, a DPD officer, and TPD Officer Borque) entered a room

with plaintiff.   Plaintiff asserts that Borque appeared to be in

charge of questioning, and that Borque questioned plaintiff

about whether he had guns in Massachusetts.    The officers showed

plaintiff a stack of records documenting multiple gun purchases

in New Hampshire.   Plaintiff denied having guns in Massachusetts

and said that he had nothing further to say, and that he wanted

to speak with his lawyer.   Plaintiff alleges that the officers

continued to question him, would not let him leave, and

eventually served him with the 209A Order.

     After the questioning at the DPD occurred, the officers

searched Ayotte’s residence.    Plaintiff alleges that TPD Officer

Woods spearheaded the search, and Borque was also present.

Plaintiff alleges that Woods at that time was involved in an

undisclosed intimate relationship with Ms. Chalifoux.

Plaintiff, who was at Ayotte’s residence during the search,




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alleges that, using “threat[s] of force,” TPD officers induced

plaintiff to consent to a search of his car.   No guns were found

in Ayotte’s home or in plaintiff’s car.

     Sometime between July 1 and July 15, 2013, plaintiff

contacted the Manchester, New Hampshire, Police Department

(“MPD”) to turn over his New Hampshire firearms license and

weapons he had in storage in Manchester.   In the meantime, on

July 2, 2013, having received information from Ms. Chalifoux

that plaintiff had recently purchased more than forty guns, TPD

Officer Wagner filed a criminal complaint in the Lowell District

Court, charging plaintiff with violating the 209A Order by

failing to turn in his guns.   The Lowell District Court

dismissed that complaint in November 2013, after plaintiff had

surrendered weapons and his firearms license to the MPD.


                               CLAIMS

     Plaintiff’s 100-page, 348-paragraph Third Amended Complaint

asserts the following claims for money damages and for

injunctive relief:

     1.   Four “undercover” officers, including TPD Officers
     Woods and Borque, unreasonably searched and seized
     plaintiff, in violation of his Fourth Amendment rights, on
     July 1, 2013, in that:

          (a) when plaintiff arrived by car at Ms. Chalifoux’s
          residence before service of the 209A order, the



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     officers approached him and told him to keep his hands
     visible;

     (b) the officers told plaintiff he had to drive with
     them to the DPD for questioning, and positioned their
     cars in front of and behind plaintiff’s car as they
     drove to the DPD, restricting his ability to decline
     to go with them; and

     (c) the officers frisked plaintiff without his consent
     when plaintiff stopped his car en route to the DPD.

2.   Police officers, including TPD Officers Woods and
Borque, violated plaintiff’s Fourth and Fifth Amendment
rights at the DPD, in that, before serving him with the
209A order:

     (a) the officers questioned plaintiff for an extended
     period of time at the DPD, would not let him leave,
     and stood in the doorway to the interrogation room,
     leading plaintiff to believe he could not leave, when
     the officers lacked probable cause to arrest him, in
     violation of plaintiff’s Fourth Amendment rights; and

     (b) the officers did not issue a Miranda warning to
     plaintiff, and continued to question him when
     plaintiff said he would not respond further without
     speaking to a lawyer, in violation of plaintiff’s
     rights under the Fifth Amendment.

3.   TPD officers, including Borque and Woods, violated
plaintiff’s Fourth Amendment rights by:

     (a) searching plaintiff’s girlfriend Ayotte’s
     residence without valid consent or probable cause; and

     (b) searching plaintiff’s car, without valid consent
     or probable cause.

4.   TPD Officer Wagner violated plaintiff’s Fourth and
Fourteenth Amendment rights by threatening to arrest
plaintiff “on sight.”

5.   Plaintiff’s voluntary surrender of guns and a gun
permit to the MPD, on or after July 2, 2013, violated



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plaintiff’s Second Amendment rights.

6.   TPD Officer Wagner violated plaintiff’s Fourth and
Fourteenth Amendment rights by seeking to charge plaintiff
with violating the 209A Order in Lowell District Court,
where Wagner’s criminal complaint included false assertions
of fact.

7.   Defendants violated plaintiff’s Fourteenth Amendment
rights to substantive due process and equal protection by:

     (a) giving preferential treatment to Ms. Chalifoux;
     and

     (b) failing to disclose and lying about defendant
     Woods’s involvement in an intimate relationship with
     Ms. Chalifoux before TPD officers obtained consent to
     search Ayotte’s residence.

8.   TPD officers violated plaintiff’s Fourteenth Amendment
rights by failing to pursue criminal charges against Ms.
Chalifoux and a process server, despite having received
complaints that those individuals had harassed and/or
threatened plaintiff and Ayotte, and that the process
server struck plaintiff’s leg with “an object.”

9.   TPD supervisory officers are liable for the federal
constitutional torts perpetrated by subordinate TPD
officers.

10. The Town of Tyngsborough (“Town”) is liable for the
federal constitutional torts perpetrated by TPD officers:
(a) under the doctrine of respondeat superior, (b) by
negligently failing to have an adequate policy for
complaining about TPD officers, and (c) for having a
municipal custom or policy of depriving plaintiff of his
rights.

11. Guardian ad Litem (“GAL”) Richard Wolman, appointed by
the Family Court, violated plaintiff’s Fourteenth Amendment
rights by: (a) refusing to investigate matters as directed
by the Family Court; (b) refusing to comply with subpoenas;
(c) making false claims in the Family Court proceedings;
(d) fabricating evidence against plaintiff; (e) charging
excessive fees; and (f) failing to comply with



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     Massachusetts GAL investigation standards.

     12. Defendants engaged in joint action to deprive
     plaintiff of his civil rights, rendering them liable under
     42 U.S.C. §§ 1983 and 1985.

     13. All defendants are liable to plaintiff for predicate
     acts of racketeering, including perjury, mail fraud, and
     wire fraud, undertaken for the purpose of depriving
     plaintiff of his civil rights, rendering defendants liable
     under the federal Racketeer Influenced and Corrupt
     Organizations Act (“RICO”).

     14. Defendants are liable under Massachusetts law for
     conduct alleged in the Third Amended Complaint, including
     the following:

          (a) Woods, Borque, and the Town are liable to
          plaintiff for abuse of process, relating to the July 1
          detention and questioning of plaintiff;

          (b) Woods, Borque, and the Town are liable to
          plaintiff for false arrest/false imprisonment,
          relating to the July 1 detention and questioning; and

          (c) Woods and Borque are liable to plaintiff under the
          Massachusetts Civil Rights Act (“MCRA”), MGL ch. 12,
          § 11H, relating to the July 1 detention and
          questioning of plaintiff.



                            DISCUSSION

I.   Federal Claims

     A.   July 1 Stop and Pat-Frisk (Claim 1)

     Plaintiff alleges that defendant officers violated his

Fourth Amendment rights, and de facto arrested him, when they

stopped, frisked, and detained him on July 1 prior to serving

him with the 209A Order.   If a police officer has a reasonable



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and articulable suspicion that a person may be involved in

criminal activity, the officer may briefly stop the person to

investigate further.    See Hiibel v. Sixth Jud. Dist. Ct., 542

U.S. 177, 185 (2004).    Such a stop must be “‘justified at its

inception, and . . . reasonably related in scope to the

circumstances which justified the interference in the first

place’” to be considered constitutionally reasonable.    Id. at

188 (quoting Terry v. Ohio, 392 U.S. 1, 20 (1968), additional

citations omitted).

     State law requires police officers to serve 209A orders.

See MGL ch. 209A, § 7.    When the TPD officers approached

plaintiff on July 1, 2013, in Ms. Chalifoux’s driveway, they

were aware that the Lowell District Court had issued the 209A

Order, which had been based on a judicial finding that Ms.

Chalifoux demonstrated “a substantial likelihood of immediate

danger of abuse.”   MGL ch. 209A, § 4.   Based on that, and the

information in the officers’ possession at the time plaintiff

stopped his car en route to the DPD, including Ms. Chalifoux’s

statements that he was volatile and had recently purchased guns,

the officers had a reasonable suspicion that plaintiff could be

armed and could present a risk to the officers, Ms. Chalifoux,

or others, sufficient to justify a Terry stop in Ms. Chalifoux’s




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driveway.    The officers were, for the same reasons, also

justified in conducting the pat-frisk of the plaintiff when he

stopped his car and confronted the officers en route to the DPD.

Therefore, Claims 1(a) and 1(c) numbered above, should be

dismissed for failure to state a plausible claim for relief

under the Fourth Amendment.

     In Claim 1(b), plaintiff asserts that the officers violated

his Fourth Amendment rights by executing a de facto arrest of

plaintiff, without probable cause, by compelling him to drive to

the DPD for further questioning.      The relevant facts alleged in

the complaint are sufficient to allow this claim to proceed

against defendants Borque and Woods.     Accordingly, the Court has

directed service of Claim 1(b) in a separate Order issued this

date (the “Service Order”).

     B.     Questioning at DPD (Claim 2)

     In Claim 2, plaintiff asserts that his Fourth and Fifth

Amendment rights were violated when defendant officers

questioned him at the DPD.    In Claim 2(a), above, plaintiff has

alleged that officers unreasonably seized his person, without

probable cause, by questioning him at the DPD for an extended

period under circumstances that gave the impression that

plaintiff was not free to leave the DPD.     The facts alleged in




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the complaint are sufficient to allow Claim 2(a) to proceed.

Accordingly, the Court has directed service of Claim 2(a) in the

Service Order.

     Claim 2(b) asserts Fifth Amendment violations relating to

the officers’ failure to issue the plaintiff warnings before

questioning him, pursuant to Miranda v. Arizona, 396 U.S. 868

(1969), and to stop questioning plaintiff when he asked to speak

to his attorney.   “Fifth Amendment protections are generally

limited to criminal proceedings,” and a plaintiff “may not base

a § 1983 claim for a violation of constitutional rights on the

mere fact that the police questioned him in custody without

providing Miranda warnings when there is no claim that

[plaintiff’s] answers were used against him at trial.”   Brown v.

SEPTA, 539 F. App’x 25, 27 (3d Cir. 2013) (citation omitted).

Accordingly, Claim 2(b) should be dismissed for failure to state

a plausible § 1983 claim relating to plaintiff’s Miranda rights.

     C.   July 1, 2013, Searches (Claim 3)

     Plaintiff alleges in Claims 3(a) and 3(b) that TPD Officers

Woods and Borque, on July 1, 2013, illegally searched Ayotte’s

residence and plaintiff’s car, with neither probable cause nor

valid consent.   “[T]he Fourth Amendment test for a valid consent

to search is that the consent be voluntary, and [v]oluntariness




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is a question of fact to be determined from all the

circumstances.”   Lopera v. Town of Coventry, 640 F.3d 388, 399

(1st Cir. 2011) (citation and internal quotation marks omitted).

     Assuming, without deciding, that plaintiff may assert a

Fourth Amendment claim relating to the search of Ayotte’s home,

the allegations in the complaint fail to state a plausible

Fourth Amendment claim.   Ayotte consented to the search of her

home upon assurance that her mother would be present and could

revoke consent at any time.   The facts alleged by plaintiff do

not plausibly show that Ayotte’s consent was involuntary under

all of the circumstances.   Accordingly, Claim 3(a) should be

dismissed.

     Plaintiff further alleges that the officers, using an

unspecified “threat of force,” obtained plaintiff’s consent to

search his car.   Plaintiff’s allegation of unspecified threats,

without more, does not demonstrate that his consent was

involuntary.   Accordingly, Claim 3(b) should be dismissed.

     D.   Threatened Arrest (Claim 4)

     Plaintiff has alleged that TPD Officer Wagner violated his

Fourth and Fourteenth Amendment rights by threatening to arrest

plaintiff “on sight.”   Plaintiff has failed to allege any facts

suggesting that any actionable search or seizure occurred in




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connection with that threat.   See California v. Hodari D., 499

U.S. 621, 626 (1991) (show of authority by police does not

constitute seizure unless subject yields or submits to it).

Furthermore, the threat, under the circumstances, is not the

type of police conduct that may be actionable as a violation of

the Fourteenth Amendment right to substantive due process.    See

generally Freeman v. Town of Hudson, 714 F.3d 29, 40-41 (1st

Cir. 2013); Lockhart-Bembery v. Sauro, 498 F.3d 69, 78 (1st Cir.

2007) (citing cases to illustrate test for behavior that

violates right to substantive due process).   Accordingly,

plaintiff has not stated a plausible claim relating to Wagner’s

threat, and Claim 4 should be dismissed.

     E.   Second Amendment (Claim 5)

     Plaintiff’s Second Amendment claim is based on his

allegation that “of his own volition,” to avoid an appearance in

the divorce case that he presented “any sort of danger,”

plaintiff advised the MPD that he had firearms that he wanted to

surrender to the MPD.   Plaintiff’s averments about voluntarily

relinquishing his firearms and gun permit to the MPD belie his

claim that any defendant deprived him of the right to bear arms. 3


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      A 209A order is enforceable in New Hampshire. See 18
U.S.C. § 2265; N.H. Rev. Stat. Ann. (“RSA”) § 173-B:13.
Plaintiff has not challenged the validity of those laws; nor has


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Accordingly, Claim 5 should be dismissed.

     F.   Criminal Complaint (Claim 6)

     Plaintiff asserts a malicious prosecution claim under 42

U.S.C. § 1983, relating to TPD Officer Wagner’s attempt to

initiate a criminal proceeding in Lowell District Court by

charging plaintiff with violating the 209A Order.    “[A]

plaintiff may bring a suit under § 1983 . . . [for a Fourth

Amendment malicious prosecution claim] if he can establish that:

‘the defendant (1) caused (2) a seizure of the plaintiff

pursuant to legal process unsupported by probable cause, and (3)

criminal proceedings terminated in plaintiff’s favor.’”

Hernandez-Cuevas v. Taylor, 723 F.3d 91, 101 (1st Cir. 2013)

(citation omitted).    Plaintiff alleges that the criminal

complaint itself was never technically filed; rather, that

Wagner sought leave of court to file charges, and that the court

declined to authorize the filing of charges.    Plaintiff has not

alleged any facts suggesting that he was seized in any manner by

Wagner’s criminal complaint.    See Nieves v. McSweeney, 241 F.3d

46, 55 (1st Cir. 2001).    Because no seizure is alleged, Claim 6

should be dismissed.

     G.   Equal Protection/Due Process (Claim 7)


he alleged that any defendant sought to enforce such authorities
against him when he chose to surrender his weapons.


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     Plaintiff cries foul with respect to TPD officers’ alleged

preferential treatment of Ms. Chalifoux, alleging that such

treatment violated his rights to equal protection and

substantive due process.    To state such an equal protection

claim, plaintiff must allege facts to show that he was treated

differently than others similarly-situated, and that the reason

for any different treatment was discrimination on the basis of

some improper classification.    See LeBaron v. Spencer, 527 F.

App’x 25, 32 (1st Cir. 2013).    Plaintiff has failed to allege

any facts sufficient to make that showing.

     Further, nothing alleged by plaintiff, relating to the

conduct of TPD Officer Woods or any other state actor, even

accepted as true, is sufficiently egregious to state a plausible

claim for relief for a violation of plaintiff’s rights under the

Fourteenth Amendment.   See Freeman v. Town of Hudson, 714 F.3d

29, 40 (1st Cir. 2013).    Accordingly, plaintiff’s equal

protection and substantive due process claims (Claim 7) should

be dismissed.




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     H.   Failure to Prosecute (Claim 8)

     Plaintiff alleges a violation of his civil rights in the

TPD officers’ failure to prosecute individuals he alleges

harassed, threatened, and/or assaulted him.   Plaintiff has no

“judicially cognizable interest in the prosecution or

nonprosecution of another.”   Linda R.S. v. Richard D., 410 U.S.

614, 619 (1973).   Accordingly, Claim 8 should be dismissed.

     I.   Supervisory/Municipal Liability (Claims 9 & 10)

     Plaintiff seeks damages from TPD supervisory officers and

the Town of Tyngsborough for violations of his federal rights.

Those defendants cannot be held liable under a theory of

respondeat superior.   See Connick v. Thompson, 131 S. Ct. 1350,

1359 (2011); Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009).

     A plaintiff asserting a claim that a supervisor is liable

must show that the “supervisor’s conduct (whether action or

inaction) constitute[d] ‘supervisory encouragement, condonation

or acquiescence[,] or gross negligence of the supervisor

amounting to deliberate indifference.’”    Grajales v. P.R. Ports

Auth., 682 F.3d 40, 47 (1st Cir. 2012).    Similarly, a “plaintiff

who brings a section 1983 action against a municipality . . .

must identify a municipal policy or custom that caused the

plaintiff’s injury.”   Haley v. City of Boston, 657 F.3d 39, 51




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(1st Cir. 2011) (citations and internal quotation marks

omitted).    Stripped of legal conclusions, the complaint fails to

state any plausible § 1983 claim of municipal or supervisory

liability.    Accordingly, Claims 9 and 10 should be dismissed.

     J.     Guardian ad Litem (Claim 11)

     Defendant Wolman was a court-appointed GAL in the Family

Court proceedings involving plaintiff and Ms. Chalifoux.    Wolman

is entitled to absolute immunity with respect to the performance

of “delegated functions . . . intimately . . . related to the

judicial process.”    Cok v. Cosentino, 876 F.2d 1, 3 (1st Cir.

1989); see also Sarkisian v. Benjamin, 62 Mass. App. Ct. 741,

745, 820 N.E.2d 263, 266 (2005) (where all claims arise out of

duties performed by GAL acting in quasi-judicial capacity, GAL

entitled to absolute immunity from such claims).    Wolman’s

allegedly wrongful conduct cited in the complaint all relates to

Wolman’s delegated functions as a GAL.     Accordingly, all claims

asserted against Wolman (Claim 11) should be dismissed, and

Wolman should be dropped from this action.

     K.     Joint Action and Private Parties (Claim 12)

     Plaintiff alleges that defendants are liable, under 42

U.S.C. §§ 1983 and 1985, for conspiring to deprive him of his

civil rights.    A section 1985 claim “requires ‘some racial, or




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perhaps otherwise class-based, invidiously discriminatory animus

behind the conspirators’ action.’”   Soto-Padró v. Pub. Bldgs.

Auth., 675 F.3d 1, 4 (1st Cir. 2012) (citations omitted).

Plaintiff has not alleged that he is a member of any protected

class of individuals, and he does not allege any facts

suggesting either a racial motivation or other class-based

discriminatory intent with respect to any alleged wrong-doing.

Accordingly, plaintiff’s section 1985 claim should be dismissed

for failure to state a plausible claim for relief.

     Section 1983 allows for claims asserting civil rights

conspiracies, but does not provide a free-standing cause of

action for conspiracy claims.   “‘Without an actual deprivation

[of a civil right], there can be no liability under Section

1983.’”   Banks v. Gallagher, 686 F. Supp. 2d 499, 528 (M.D. Pa.

2009) (citation omitted).   With the exception of Claims 1(b) and

2(a), plaintiff has not alleged facts sufficient to state any

claim for relief under 42 U.S.C. § 1983 that survives

preliminary review.   Moreover, when stripped of legal

conclusions, the complaint fails to state any plausible

conspiracy relating to the detention and questioning claims

alleged in Claims 1(b) and 2(a).

     Plaintiff also seeks to hold private parties liable under




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section 1983, asserting that his ex-wife Charlene Shute, his

father-in-law James Cieslik, Ms. Chalifoux, her divorce lawyers,

a private investigator/friend of Ms. Chalifoux, and other

unnamed, unnumbered John and Jane Does, all engaged in joint

action with TPD officers and other state agents to deprive him

of his civil rights.   A private party can be deemed liable under

42 U.S.C. § 1983 only under limited circumstances, not

applicable here.    See generally Estades-Negroni v. CPC Hosp. San

Juan Capestrano, 412 F.3d 1, 5 (1st Cir. 2005) (private party

may be liable under section 1983 if “the totality of the

circumstances reveals that the state has ‘so far insinuated

itself into a position of interdependence with the [private

party] that it was a joint participant in [the challenged

activity]’” (citation omitted)).      Stripped of legal conclusions,

the claims asserting such joint action fail to state a plausible

claim for relief.   Accordingly, plaintiff’s § 1983 claims (Claim

12) asserted against the following defendants, should be

dismissed: Cieslik; Ms. Chalifoux; Attorneys Bakis, James,

Mauritz-James, Halks, and Mauritz; Mustapha; Shute; and the

Does.

     L.   RICO (Claim 13)

     “The statutory provision that creates a RICO civil action,




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18 U.S.C. § 1964(c), allows ‘[a]ny person injured in his

business or property by reason of a violation of’ the RICO

statute to bring a civil suit for treble damages. . . . In other

words, RICO standing requires compensable injury and proximate

cause.”    Newcal Indus., Inc. v. Ikon Office Solution, 513 F.3d

1038, 1055 (9th Cir. 2008) (citations omitted); see also Zareas

v. Bared-San Martin, 209 F. App’x 1, 2 (1st Cir. 2006); Doe v.

Roe, 958 F.2d 763, 767 (7th Cir. 1992) (“a civil RICO action

cannot be premised solely upon personal or emotional injuries”).

      Plaintiff alleges generally that he has been deprived of

his civil rights and has suffered damages due to RICO

violations.    Such allegations do not show any injury to

plaintiff’s business or property.     See Zareas, 209 F. App’x at

2.    Furthermore, when stripped of legal conclusions, the Third

Amended Complaint fails to show the existence of any RICO

enterprise.    Accordingly, Claim 13 should be dismissed for

failure to state a claim upon which relief can be granted.

II.    State Law Claims (Claim 14)

      Plaintiff cites 28 U.S.C. § 1332 as grounds for this

Court’s subject matter jurisdiction in this case.     Section 1332

requires complete diversity of the parties.     See Alvarez-Torres

v. Ryder Mem’l Hosp., Inc., 582 F.3d 47, 53-54 (1st Cir. 2009).




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Plaintiff has alleged that he and several defendants live in New

Hampshire, which precludes a finding of complete diversity.     See

id.   Therefore, section 1332 does not provide an independent

basis for subject matter jurisdiction over plaintiff’s state law

claims.

      This Court may exercise supplemental jurisdiction over

plaintiff’s claims because those claims arise out of same

nucleus of operative facts as his federal claims.    See 28 U.S.C.

§ 1367(a).   In the Order issued separately on this date, the

Court has directed service of state law abuse of process and

false arrest/false imprisonment claims against defendants

Borque, Woods, and their municipal employer, and an MCRA claim

against Borque and Woods, arising out of the officers’ conduct

in detaining and questioning plaintiff.    Those claims are

numbered herein as Claims 14(a) – 14(c).    Plaintiff’s MCRA claim

against the Town of Tyngsborough should be dismissed for the

same reason that the District Judge should dismiss the claim of

municipal liability under section 1983.    See Chaabouni v. City

of Boston, 133 F. Supp. 2d 93, 103 (D. Mass. 2001) (no vicarious

liability under MCRA for municipal employers).

      Pursuant to 28 U.S.C. § 1367(c)(2), the District Judge

should decline to exercise jurisdiction over all of the




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remaining state law claims in the Third Amended Complaint,

without prejudice to plaintiff’s ability to litigate such claims

in state court, as those claims would substantially predominate

over the limited number of federal questions remaining in this

action.   Upon declining to exercise such jurisdiction, the

District Judge should also drop all parties from this action

other than Borque, Woods, and the Town.


                            CONCLUSION

     For the foregoing reasons, the undersigned Magistrate Judge

recommends that Claims 1(a), 1(c), 2(b), and 3 - 13, as numbered

in this Report and Recommendation, be dismissed for failure to

state a claim upon which relief can be granted.   Defendants

Wolman, Jennifer Chalifoux, Shute, Cieslik, Mustapha, Mauritz,

Halks, Bakis, James, Mauritz-James, Shay, Howe, Wagner, and the

unnamed John and Jane Does, should be dropped from this case.

Further, except for Claims 14(a) – 14(c) that this Court has

caused to be served, and the MCRA claim of municipal liability

that should be dismissed with prejudice, all of the other state

law claims asserted in the Third Amended Complaint should be

dismissed without prejudice to refiling in state court.

     Any objections to this Report and Recommendation must be

filed within fourteen days of receipt of this notice.   See Fed.



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R. Civ. P. 72(b)(2).    Failure to file objections within the

specified time waives the right to appeal the District Court’s

order.   See United States v. De Jesús-Viera, 655 F.3d 52, 57

(1st Cir. 2011); Sch. Union No. 37 v. United Nat’l Ins. Co., 617

F.3d 554, 564 (1st Cir. 2010) (only issues fairly raised by

objections to magistrate judge’s report are subject to review by

district court; issues not preserved by such objection are

precluded on appeal).




                                __________________________
                                Andrea K. Johnstone
                                United States Magistrate Judge


July 14, 2014

cc:   Joseph W. Chalifoux, pro se




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